           Case 1:17-vv-00576-UNJ Document 32 Filed 06/15/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0576V
                                     Filed: March 19, 2018
                                         UNPUBLISHED


    LAURA SHANAHAN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On April 28, 2017, Laura Shanahan (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that that she suffered from a left shoulder
injury related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”)
vaccine she received on September 14, 2016. Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.
        On March 19, 2018, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent states that “petitioner’s injury is consistent with a shoulder
injury related to vaccine administration (‘SIRVA’) that was caused by the administration

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:17-vv-00576-UNJ Document 32 Filed 06/15/18 Page 2 of 2



of petitioner’s flu vaccination.” Id. at 3. Respondent “did not identify any other cause for
petitioner’s shoulder injury, and the medical records… demonstrate that she suffered
the residual effects of her condition for more than six months.” Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
